w

2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 1 of 45

UNITED STATES DISTRICT COURT E j I IF Dp

NORTHERN DISTRICT OF CALIFORNIA
Oakland Division AUG 09 2019 oy

i ‘ . -CR- - SUSA
United States Of America, Be. lace 00020 » NBER, DSTRCN Couny
TRI
0,

)

plaintire —) No« 18-cv-03595-3SEP™ ORGY oF caLieOnnia
) SUPPLEMENTAL BRIEF, NEW SUBSTANTIVE

) RULING THAT CAME DOWN FROM THE

) SUPREME COURT, DEALING WITH STATUTES
) 922(g)(1), AND 924(c) BEING "UN-

) CONSISTITUTIONALLY VAGUE, DEALING

) WITH A FUNDAMENTAL DEFECT CAN BE RAISED
) ANY TIME, CITING UNITED STATES V.

) Pheaster, 544 F.2d 353, 361 (9th Cir.
) 1976). (Fed. R. Crim. P. 12(b)(2)(A

) MOTION THAT THE COURT LACKS

) JURISDICTION MAY BE MADE AT ANY TIME
)

WHILE THE CASE IS PENDING.").

Marcus Belton
Defendant

 

Now comes, Defendant/Movant pro se litigant, Marcus Belton, now

moves to make a formal lodging to the U.S. District Court, by and
through collateral order doctrine, that his sentence dealing with
elements and statute 922)g)(1), and 924(c) be vacated under stare

decisis doctrine, following cited cases, Rehaif v. United States,

 

(No.17-9560) S. Ct. June 21, 2019). Gonzalez v. Thaler, 565 U.S.

 

134 (2012). United States v. Pheaster, 544 F.2d 353 (9th Cir. 1976).

 

Henderson v. United States, 568 U.S. 266 (2013). Peretz v. United

 

States, 501 U.S. 923 (1991). James, 980 F.2d at 1316). Medina,

305 F. 3d at 847). Ruelas, 106 F. 3d at 1418). The Government's
case No. 14-CR-00030-JST, case No. 18-CV-03595-JST. Is in violation
of the above statutes, The U.S. District Court is now "Duty Bound"
under it's Oath, 28 U.S.C. § 453 and Artical VI, Clause 2, Under
United States Constitution of the United States Of America to

"Immediately Vacate" sentence and release Defendant/Movant Marcus

 

Belton.
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 2 of 45

TABLE OF CONTENTS

Supplemental Argument ..cecscccccsccvcvccsscecccscccscvce IO
I. The Rehaif decision secre ccc ccc c cece cece ccc cc ccc oes Orie
II. The indictment failed to charge a federal offense and

therefore this Court should order that the felon-in
possession count be dismissed wecccccscrccccccrccceeed

A. standard of REVIEW .occcccccrcccceenccscscccceedd
Be AnalySiS cccecceccccccccccccccccccceccccccvecce Gr 10,11,12
III. Belton must receive a new trial because the jury was
not instructed it must find beyound a reasonable doubt
that Belton was not a felon, but an ex felon at the time
of the alleged possession ....... cece eee c cre r cece eee tt 13,16
Be. AnalySiS cece cc cece wee erence cer ewes sescesececee 13,14,15,16

CONCLUSION cecocecnccecencsnccresccccccccceces
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 3 of 45

TABLE OF AUTHORITIES
Federal Cases

Givens v. Housewright,
786 F.2d 1378 (9th Cir.1986) eee eco cccccee er sc enccscscee dz 12

Gonzalez v. Thaler,
565 U.S. 134 (2012) a

Henderson ex rel. Henderson v. Shinseki,
562 U.S. 428 (2011) ee

Henderson v. United States,
568 U.S. 266 (2013) eeoeeneneoecevevoecaeveceveveeevoeoeeeweeeoeeeveeeoe 5,6

Peretz v. United States,
501 U.S. 923 (1991) .ccccccccavvcesecescserescevvcesccece 9

Rehaif v. United States,
139 S. Ct. 2191 (2019) eevee eeewneoeeoeve eevee evoe meee evneeeneae 5,6,7,8,11

Rivers v. Roadway Exp., Inc.,
511 U.S. 298 (1994) meee eee wena neces eee sce e esc ccesecees O

Torres v. Lynch,
136 S. ct. 1619 (2016) eee e ce eee eco cee cece ce ese necccces IP

United States v. Alferahin,
433 F.3d 1148 (9th Cir. 2006) ecoceoererecseeoev ove es eeaeeewreoeecereoe 9,13,14,16

United States v. Cotton,
535 U.S. 625 (2002) meee cc cece cece cece escecc cece sccvccss LO

United States v. Enslin,
327 F. 788 (9th Cir. 1992) ee ©

United States v. James,
980 F.2d 1314 (9th Cir. 1992) a a

United States v. Pheaster,
544 F.2d 353 (9th Cir. 1976) mec c cc cece ec cece cess cesses GrlOy

United States v. Ruelas,
106 F.3d 1416 (9th Cir. 1997) ccc ccccccccccncccvcccccee LO,

United States v. Velasco-Medina,
305 F.3d 839 (9th Cir. 2002) sewer cect ccc w cece ccces DAZ

Vachon v. New Hampshire,
ALA U.S. 478 (1974) cecccccccccccccccccccccesccsccecees L4

United States v. Geyler,
932 F.2d 133 (9th Cir. 1991) cc... cece cee eee eee eee eee. 16
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314

Federal Statutes

Filed 08/09/19 Page 4 of 45

21 U.S.C $860 Lec ccc cee cence ccc n eee cence renee nene

18 U.S.C. § 922 Ler c wc ccc ence cere cree een e es eeeeee

1,6,7,8,10,11,13

18 U.S.C § G24 Lecce rn ce cre r cr cr cre cenesennseres

State Statutes

6,7,10,11,15

California State Law 921(a) (20) 7... cece cvnccnes

Federal Rules

Fed. R. Crim. P. 12 (b) cece cece ec ee eee eee eee

Fed. R. Evid. 410 (a) (2) wc. c ccc cccravenccscvevans

Legislative intent of section

921 (Aa) (20) co.cc ccc cece ee cc ee eee ewer never eees
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 5 of 45

Supplemental Argument

Appellant Marcus Belton appeals his jury conviction and his
sentence imposed for unlawful firearm possession under 18 U.S.C.

§ 922(g). This appeal is fully briefed and prepared for any hearing
that may be scheduled.

After Belton filed his Reply To the Governments Response, the
Supreme Court issued a decision that one Justice describéd as "casting
aside" the "long-established interpretation" of § 922(g). Rehaif v.
United States, 139 S. Ct. 2191, 2201 (2019) (Alito, J, dissenting).
Section 922(g) makes it a felony for certain persons to possess
firearms based on their status, including those convicted of a crime
punishable by imprisonment for a term exceeding one year. 18 U.S.C.

§ 922(g)(1).

Writing for a seven-Justice majority, Justice Breyer's opinion in
Rehaif attends carefully to the intimate relationship between mental
state and criminal culpability. 139 S. Ct. at 2195097. The Court
concluded a person may not be convicted under § 922(g) unless, at the
time of possession the firearm, that person knew he belonged to the
relevant category of persons prohibited from possessing firearms. Id.
at 2200.

Supreme court precedent instructs that this Court must apply the
law currently in effect to decide Belton's appeal. Henderson v. United
States, 568 U.S. 266, 271, 279 (2013). Thus, following Rehaif, this
Court should authorized supplemental briefing regarding the impact
of Rehaif on Belton's appeal.

Here, the indictment failed to allege the critical Rehaif element-
that Belton knew he was a convicted felon at the time he possessed

the firearm. Due to this fundamental, prejudicial defect in the
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 6 of 45

indictment, this case should be remanded with instructions to dismiss
the § 922 count against Belton.

Alternatively, Belton must receive a new trial. The jury
instructions failed to require the government to prove and the jury to
find, beyond a reasonable doubt, that Belton knew he was a felon at
the time of the alleged firearm possession. This plain instructional
error violated Belton's substantial rights and impacts the fairness
and integrity of the judicial system because the result is that Belton
was not convicted of violating all the elements of the felon-in-possess-
ion of a firearm offense.

I. The Rehaif decision

On June 21, 2019, the Supreme Court issued Rehaif, 139 S. Ct.

2191, concluding that, in prosecutions under 18 U.S.C. §§ 922(g) and
924(a)(2), the government must prove the defendant knew - at the time

of firearm possession - of his status as a person barred from possessing
a firearm. Rehaif overturned this Circuit's prior case law that the mens
rea element in §§ 922(g)(1) and 924(a)(2) applied only to the possession
element, not to status. Untied States v. Enslin, 327 F.3d 788, 798 (9th
Cir. 2003). Belton agrued that he was a ex-felon at the time of his
arrest.

Rehaif was convicted of unlawfully possessing firearms at a
firing range as an alien unlawfully in the United States, in violation of
§922(g) and § 924(a)(2). Id. at 2195. Rehaif argued that the government
should have been required to prove and the jury should have been
required to find beyond a reasonable doubt that he knew he was an alien
unlawfully in the United States a the time of the alleged gun possession.
Id. at 2195. The Supreme Court agreed. In Belton's case the felon in

possession element must fail.
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 7 of 45

Rehaif recognized that § 924(a)(2) states that "[w]hoever
knowingly violates' certain subsections of § 922, including § 922(g),
‘shall be' subject to penalties of up to 10 years' imprisonment." 139 S.
Ct. at 2195. "The text of § 922(g) in turn provides that it 'shall be
unlawful for any person..., being an alien...illegally or unlawfully in
the United States,' to 'possess in or affecting commerce, any firearm or
ammunition.'" Id. at 2195. In Belton's case the firearm was last legally
sold in Carson, California. The interstate commerce element is defective.
Reading these two statues together, Rehaif held "that in a prosecution
under 18 U.S.C. § 922(g) and § 924(a)(2), the Government must prove
both that the defendant knew he possessed a firearm and that he knew he
belonged to the relevant category of persons barred from possessing a
firearm." Id. at 2200.

Rehaif rested on the “ordinary presumption on favor of 'scienter,'"
whereby criminal statues will not be construed "to impose criminal
liability on persons who, due to lack of knowledge, did not have a
wrongful mental state." 139 S. Ct. at 2195, 2198. That presumption,
the Court explained, is "a basic principle that underlies the criminal
law, namely, the importance of showing what Blackstone called 'a vicious
will.'" Id. at 2196 (citing 4 W. Blackstone, Commentaries on the Laws
of England 21 (1769)). Today, courts remain faithful to that principle
by generally interpreting "criminal statutes to require that a defendant
possess a mens rea, or guilty mind, as to every element of an offense...
even when the 'statute by its terms does not contain' any demand of
what kind." Torres v. Lynch, 136 S. Ct. 1619, 1630-31 (2016) (citations
omitted).

The Rehaif decision also relied on fundamental fairness.

Possessing a firearm, it noted, can be an “entirely innocent" act. Rehaif,
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 8 of 45

139 S. Ct. at 2197. If a defendant lacks knowledge of the facts and
circumstances making his possession unlawful, he may well also "lack
the intent needed to make his behavior wrongful." Id. For example,

§ 922(g)(1) might unfairly apply "to a person who was convicted of a
prior crime but sentenced only to probation" and is unaware the offense
could have been punished by imprisonment of more than one year. Id.

at 2198. Belton's prior's are no contendere pleas in violation of
Federal Rules of Evidence 410(a)(2).

For all of these reasons, Rehaif construed § 922(g) to require the
government to prove "that the defendant knew he possessed a firearm
and also that he knew he had the relevant status when he possessed it."
Id. at 2194.

"When the Supreme Court construes a statute, it is explaining its
understanding of what the statue has-ment continuously since the date
when it became law." Rivers v. Roadway Exp., Inc., 511 U.S. 298, 313
n.12 (1994) (cleaned up). Thus, Rehaif "finally decided what § [922(g)]
had always meant and explained why the Courts of Appeals had misinterp-
reted the will of the enacting Congress." Rivers, 511 U.S. at 313 n.12;
see also id. at 312-13 ("A judicial construction of a statute is an
authoritative statement of what the statute meant before as well as
after the decision of the case giving rise to that construction."). In
violation of the Legislative intent of section 921(a)(20). In short,
§ 922(g) has always required that the government charge and prove as an
element that the defendant "knew he belonged to the relevant category
of persons barred from possessing a firearm." Rehaif, 139 S. Ct. at
2200.
II. The indictment failed to charge a federal offense and

therefore this Court should order that the felon-in

possession count be dismissed.
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 9 of 45

A. Standard of Review

"Subject-matter jurisdiction can never be waived or forfeited."
Gonzalez v. Thaler, 565 U.S. 134, 141 (2012). Thus, "a court's subject-
matter jurisdiction may be raised at any point." Peretz v. United States,
501 U.S. 923, 953 (1991); Henderson ex rel. Henderson v. Shinseki, 562
U.S. 428, 434 (2011). The "[fJailure of an indictment to state an offense
is, of course, a fundamental defect which can be raised at any time."
United States v. Pheaster, 544 F.2d 353, 361 (9th Cir. 1976); see also
Fed. R. Crim. P. 12(b)(2) ("A motion that the court lacks jurisdiction
may be made at any time while the case is pending.").

This Court reviews a charging defect challenge made for the first
time on appeal for plain error. United States v. Velasco-Medina, 305
F.3d 839, 846 (9th Cir. 2002). Under the plain error doctrine, a
defendant must show that: (1) the proceedings below involved error, (2)
the error is plain, (3) the error affected his substantial rights, and
(4) the error seriously affects the fairness, integrity or public
reputation of judicial proceedings." United States v. Alferahin, 433 F.3d
1148, 1154 (9th Cir. 2006). In the defective indictment context, the
"key question" under plain error analysis is "whether an error or
omission in an indictment worked to the prejudice of the accused."
Velasco-Medina, 305 F.3d at 847.

B. Analysis

"A criminal indictment must ... perform certain essential
functions which are of utmost importance to the protection of persons
accused of crimes." United States v. Pheaster, 544 F.2d 353, 360 (9th
Cir. 1976). "The Supreme Court has emphasized that the performance

of these functions is not to be compromised." Id
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 10 of 45

Accordingly, and generally, "the failure of an indictment to
detail each element of the charged offense constitutes a fatial
defect" depriving the district court of jurisdiction and requiring
dismissal. United States v. James, 980 F.2d 1314, 1316 (9th Cir.
1992); United States v. Ruelas, 106 F.3d 1416, 1418 (9th Cir. 1997)
"[Wle have defined jurisdictional claims as '[c]llaims that the...
indictment fails to state an offense.'''). Certain "defects in an
indictment do not deprive a court of its power to adjudicate a
case," United States v. Cotton, 535 U.S. 625, 630 (2002), such as
"not alleg[ing] any of the threshold levels of drug gquatity that
lead to enhanced penalties under [21 U.S.C.] §841(b)." Id at 628.
But failing to allege a federal offense at all is not an excusable

infirmity. Ruelas, 106 F.3d at 1418.

The indictment's here fails to allege a federal offense at all.
The indictment alleged Belton was a person "having been convicted
of crimes punishable by imprisonment for a term exceeding one
year," and also alleged he “did knowingly possess a firearm...
having been shipped and transported in interstate and foreign
commerce" never stating that the firearm was last legally sold

in Carson California. But yet states in violation of 18 U.S.C. §
§922(g)(1) and 924(d) Id at Exhibit A of this Motion, see Exhibit
B, of the superseding indictment, felon in possession of a firearm
may the record reflect that Belton was an Ex-Felon at the time of
his arrest on October 14, 2013. See Exhibit C, Beltons Judgment
in a criminal case, nature of Offense Title & Section 18 U.S.C.

§922(g)(1) 21 U.S.C. §860, 18 U.S.C. §924(c).

10
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 11 of 45

The indictment omits the Rehaif element that Belton know he had
been convicted of a crime punishable by imprisonment for a term
exceeding one year at the time of the alleged firearm possession.

18 U.S.C. §922(g)(1); Rehaif, 139 S. Ct. at 2200.

When the defendant challenges the validity of an indictment post-
conviction, this Court "liberally construe[s the indictment] in
favor of validity." James, 980 F.2d at 1316. Under this analysis,
an indictment's "reference to a statute will cure some defects."
Id at 1318. "But the defendant must have been given adequate
knowledge of the missing elements in order to satisfy the due
process requirement; otherwise, reference to a statute will not

cure the defect in the indictment." Id.

Here, the indictment's reference to §922(g)(1) and 924(a)(2)

does not save its fundamental defect. Rehaif overruled this

Court's long-standing precedent holding that the mens rea element
in ::922(g)(1) and 924(a)(2) applied only to the possession element,
not to status. United States v. Enslin, 327 F.3d 788, 798 (9th
Cir.2003). The indictment's simple reference to §922(g)(1) and
924(a)(2) did not allege Belton possessed the necessary mens rea
concerning a prohibited status at the time of the firearm possession.
Cf. Givens v. Housewright, 786 F.2d 1378 (9th Cir.1986) (holding the
information's citation to a statute which merely defined the
degrees of murder, identifying murder by torture as one type of
first degree murder, did not provide the defendant adequate notice

of the specific charge of first degree murder by toture).

11
Date. August 6, 2019.

Mail Receipt #

Incorporated By Certified
7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 12 of 45

Belton did not concede at trial that he was aware of facts
necessary to support the missing element or even that he was
aware the government must prove his specific intent as to the
missing element. Velasco-Medina, 305 F.3d at 847 (discussing
prejudice standard). Thus, the error is prejudicial as Belton

did not have any notice or knowledge of missing element.

This Court holds a defective indictment may not be reversible
plain error if the jury instructions "conveyed the essence of
specific intent and assured that the jury would not convict

without finding it existed." Velasco-Medina, 305 F.3d at 847.

As addressed in detail in the next issue, the jury instructions
given in Belton's trail did not touch upon the government's
burden to prove and the jury's obligation to find, beyond a
reasonable doubt, that Belton knew he had a conviction for

a crime punishable imprisonment for a term exceeding one year

at the time of the alleged firearm possession.

Given the fundamental, prejudicial defect in Belton's
indictment, this Court should vacate the conviction and remand

for dismissal. Id at Exhibit G, Pg. 11, lines 6-13.

III. Belton must receive a new trial because the jury was not
instructed it must find beyound a reasonable doubt that Belton

knew he was a felon at the time of the alleged possession.

A. Standard of Review

An unobijected-to legally erroneous jury instruction is reveiwed

12
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 13 of 45

for plain error. United States v. Alferahin, 433 F.3d 1148, 1154
(9th Cir. 2006). Under the plain error doctrine, a defendant
must show that: (1) the proceedings below involved error, (2)
the error is plain, (3) the error affected his substantial
rights, and (4) the error seriously affects the fairness,

integrity or public reputation of judicial proceedings." Id.

B. Analysis

The jury in Belton's trial was not instructed that the
government was required to prove and that it was required to
find, beyound a reasonable doubt, that Belton knew at the time
of the alleged firearm possession that he had "been convicted
in any court of a crime punishable by imprisonment for a term
exceeding one year." 18 U.S.C. § 922(g)(1). The jury instructions
only required the government to prove the following elements:

(1) Belton "knowingly possessed" the firearm,

(2) The firearm "had been shipped or transported from one

state to another," and

(3) "At the time the defendant possessed the firearm(s),

he had been previously convicted of a crime punishable
by imprisonment for a term exceeding one year."

(CR633-638). (RT722-727).
The instructional error here was plain. In another § 922(g)
conviction direct appeal, the government has already conceded
the failure to instruct the jury that it must find the defendant
knew he was a felon at the time of the alleged firearm possession
was plain error. See United States v. Thomas franco, 17-10538,

Dkt. #49 (conceding "that the court plainly erred by failing

13
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 14 of 45

to require the jury to determine whether franco knew he was a
felon," though disputing whether this is a reversible plain
error). Likewise, the district court plainly erred here in
failing to instruct the jury that the government must prove
and it must find beyond a reasonable doubt that Belton knew he

was a felon at the time of the alleged firearm possession.

The instructional error that omitted an element of the crime
violated Belton's substantial rights. Convicting "on a record
lacking any relevant evidence as to a crucial element" "violates

due process."

Vachon v. New Hampshire, 414 U.S. 478, 480 (1974).
It is "a basic tenet of due process that a criminal defendant's
conviction must rest upon a jury's finding beyond a reasonable

doubt that he is guilty of each element of the crime charged."

Alferahin, 433 F.3d at 1157. "A defendant's due process rights
are unquestionably implicated when his purported conviction
rests on anything less than a finding of guilt as to all the
elements of the crime." Id. Accordingly, in Alferahin this

Court found a plain instructional error violated the defendant's
substantial rights because "[slimply put, Alferahin was not
convicted of procuring naturalization contray to law, as we have
defined that crime; rather, he was convicted of committing only

some of the elements of that crime." Id.

This is particularly true here given the inadmissibility of the
government's prior conviction evidence. In his 2255 motion, Belton
challenges whether the district court properly admitted the
majority of the documents from two of his prior California State

14
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 15 of 45

Prosecutions.

Opening Brief Id at Pg. 27 III. A. Standard of Review: And
section B. of Pg. 27 (challenging the admissibility of the
Exhibits dealing with Belton's priors). The only properely ad-
mitted judicial records were sentencing minutes and "probation
order" in the 2004, and the 2007, State cases "nvlo contender"
pleas as well as the 1998 Federal case no Guns or drugs were
involved in Belton's case, Belton was convicted of a phone
count in futherance of a attempt to comit a felony, yet Belton's
jury in this case was never told this, nor in the State cases
dealing with his priors the jury was never told that the priors
were "nolo contender pleas, that were admitted in violation of
Federal Rules of Evidence 410(a)(2). one of the State priors
Belton was only sentenced to 8 Months & 20 days in the County
jail, in violation of the one year & a day elements the record
reflects that he lost his search & seizure rights & that he not

posses a firearm while on probation under California Law.

Also see the Federal case # Cr-98-40082-11-DLJ. JNC Pg. 3 super-
vised release condictions: "[W]hile on supervised Release you

shall not---~--- Id at Exhibit H, see second Box marked [x].

The unique arrest in this case, wear (1) Belton was no longer on
probation or parole, nor a fugitive, at the time of his arrest on
October 14, 2013. (2) under section 921(a)(20). (3) facts of this
case further show the elemental instruction error violated Belton's
substantial rights. (4) at the above issues support a defense to

mens rea element Rehaif requiers.

Thus, the government cannot point to "strong & convincing evidence"
that the missing element of the crime was adequately proven at
Belton's trial, even the element's dealing with 21 U.S.C. § 860,

or 18 U.S.C. § 924(c) Id at Exhibit D of this

15
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 16 of 45

Motion, Also Id at Exhibit E of this Motion.

Alferahin, 433 F.3d at 1155. The unique facts and circumstances
of this case demonstrate a reasonable probability that the jury
convicted Belton of unlawful possession of a firearm without
finding that he knew he was a prohibited person under Federal

law at the time of the alleged possession.

Finally, the error implicates the fairness and integrity of the
judicial system because of the nature of the instructional error
and the facts of this case. In alferahin, this Court found the
plain instructional error warranted review to address the fairness
and integrity of the judicial system because, at best the
government's evidence "only hinted at proof of the missing element.
433 F.3d at 1159-60. This case presents a more erroneous record,
as the evidence dose not even “hint at the missing element. Id at
Exhibit F, dealing with the plain instructional error

The evidence points to the opposite conclusion-that Belton did

not know he was prohibited from possessing a firearm under Federal

law. Id at Exhibit G, Pg. 11, lines 6-13.

As well as California law restoring Civil Rights upon expiration
of sentence applied to exempt Federal felon in possession
"statute" citing United States v. Geyler, 932 F.2d 133 (9th Cir.
1991)(State law restoring civil rights "bars" prosecution for
922(g) Id at page 8 SEROO046, line 1 through 5, see Belton's
arguments on his priors Id at sentencing transcripts pages 10,
lines 19 through page 11,12 13-line 4. See Exhibit I, dealing with

the only rights that were taken in Belton's State proceedings

that were re stored.

16
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 17 of 45

CONCLUSION

Given the plain, prejudicial "Rehaif error" that occurred at
his trial,' Belton respectfully request this Honorable Court

vacate his conviction and dismiss the indictment.

In sum, 37 people were arrested and prosecuted under, OSS, .with
all 37 people being African American. All 37 faced the prospect
of "at least a one-year mandatory minimum sentence pursuant to
21 U.S.C. § 860 though several faced greater exposure...By
contrast, there are no mandatory minimum sentences for drug-

related offenses under California law." FAC ¢ 75.

"Iqbal, 556 U.S. at 678. A pleading is insufficient if it

offers mere "labels and conclusions" or "a formulaic recitation
of the elements of a cause of action." Twombly, 550 U.S. at 555;
see also Igbal, 556 U.S. at 678 (Threadbare recitals of the
elements of a cause of action, supported by mere conclusory
statements, do not suffice.").

("In the Ninth Circuit the use of a 'bare bones' information-
that is one employing the statutory language alone-is quite
common and entirely permissible so long as the statute sets
forth fully, directly and clearly all essential elements of the
crime to be punished.") (alteration, citation, and [2014 U.S.
Dist. LEXIS 11] internal quotation marks omitted)). In considering
a motion to dismiss an indictment, the Court may not look beyond
"the four coners of the indictment in analyzing whether a

cognizable offense has been charged." United States v. Boren,

 

278 F.3d 911, 914 (9th Cir.2002).

17
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 18 of 45

An indictment is sufficient to withstand a defendant's motion
to dismiss "if it contains the elements of the charged offense
in sufficient detail (1) to enable the defendant to prepare his
defense; (2) to ensure him that he is being prosecuted on the
basis of the facts presented to the grand jury; (3) to enable
him to plead double jepardy; and (4) to inform the Court of the
alleged facts so that it can determine the sufficiency of the
charge." United States v. Rosi, 27 F.Ed 409, 414 (9th Cir. 1994)

(citation omitted).

Belton has shown by clear proof in his 2255 Motion's Brief and
this Motion filed here by and through Affidavit's Exhibit's as
well as the transcripts in this case that he was denied the

above elements (1), (2), (3), (4). Dealing with statutes 922(g)(1)

924(c), and 21 U.S.C. § 860. 21 U.S.C. § 841 (b).

Excuted: July 31, 2019. Respectfully Submitted By

/s/ Marcus Belton.

j oN RQ lr, ,
Vi) Vas) 5 Khan:
pro se

18
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 19 of 45

)
)
)

STATE OF CALIFORNIA
COUNTY OF SANTA BARBARA

 

AFFIDAVIT/DECLARATION

 

Affidavit Of Marcus Belton
I, Marcus Belton., after being

"duly" sworn, depose and say as follows

This Affidavit is submitted in support of Defendant's Motion in
his Supplemental Brief, to the new substantive ruling that came
down from the Supreme Court dealing with statutes 922(g)(1),

and 924(c) being Un-Consistitutionally vague, Rehaif v. United
States, (No. 17-9560) S. Ct. June 21, 2019. May the record
reflect that this is the supplemental Brief, in-conjunction with
the Motion sent with the Defendant's opposition and reply to the
Government's response to the Defendant's 28 U.S.C. § 2255 Motions

Brief.

Due to a new substantive ruling that came down from the Supreme
Court, this Motion has a total of 18, pages, and Exhibits A, B, C,
D;, E, F, G, H, I. With a’ two page Affidavit, and Certificate of

Service, Adult Signature # 9590 9402 2520 6306 4565 ll.

Excuted: June 31, 2019. Respectfully Submitted By

/s/Marcus Belton,
“~ Q }

1 Pro Se
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 20 of 45

I, Marcus Belton, am the party involved in the actions stated
above and I do give consent to show the documents in My case

proceedings Id at bar case No. 4:14-CR-00030-J7ST-1.°

I, Marcus Belton, do reside at 3901 Klein Blvd. Lompoc CA 93436.
In the name and Authority of the People of California, I, Marcus
Belton, Justice hereby, Attest, Affirm, and Acknowledge in Law of
Necessity before the People of California nd the remaining States,
and Probate Justices' of the Quorum this foreign Law Affidavit is
true, correct, certain, Signed under penalty of Law by My had and
"Seal" this 3istddayodf the seventh month in the year of our Savior,

Yashua, two thousand and Nineteen, Annot Domini.

Lex loci delicti, Custodia legis quo ad Hoc loc:., Alamenda County

de jure lex fori.

ATTESTATION J La CAL Bol) Lan

Marcus Belton, Justice
"without prejudice"
Quo ad Hoc lodged

Acknowledgement : 7 Rol Tana

Marcus Belton, Justice of the peace
ex officio clerk, amanuesis

 

[No.591110]

cc: Justice: Court
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 21 of 45

EXHIBIT A

“6T0Z2

‘9 asnbny *e3ed *F7SZ0 OSEE 0000 0890 8TOL
# qdtecey [Tew petyt3azeD Aq peyzexrodzo09ul
2019.

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0254. Date. August 6,

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 22 of 45

exhibit A

AO 257 (Rev. 6/78)

| DEFENDANT INFORMATION RELATIVE TOA CRIMINAL ACTION - iN U

Case4:14-cr-O0030-PJH Document2 Filed01/16/14 =2-=2.

 

 

ay: [] comptaint (linrormation [4 INDICTMENT

 

-——- OFFENSE CHARGED LJ surerseone
18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm; [_] Petty
18 U.S.C. § 924(d) - Forfeiture Allegation

C] Minor
Misde-

CJ meanor

Felony

PENALTY: 'mprisonment: Maximum 10 years
Fine: Maximum $250,000
Supervised Release: 3 years

Special Assessment: $100

 

PROCEEDING
Name of Complaintant Agency, or Person (& Title, if any)

Bureau of Alcohol, Tobacco, Firearms, and Explosives

q person is awaiting trial in another Federal or State Court,
give name of court

 

os person/proceeding is transferred from another district
(J per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
a charges previously dismissed

which were dismissed on motion SHOW
of: DOCKET NO.
C] U.S. ATTORNEY fe DEFENSE }

 

[

 

this prosecution relates to a |
[_] pending case involving th’s sere
defendant MAGISTRATE

CASE NO. !
|
3-MJ-71594 NIV |

MELINDA HAAG
fx} U.S. Attorney [7 Other U.S, Agercy

prior proceedings or appearanceis}
C] before U.S. Magistrate regarding this
defendant were recorded under

 

Name and Office of Person
Furnishing Information on this form

Name of Assistant U.S.

Attorney (if assigned) MANISH KUMAR, SAUSA

 

PROCESS:

Cl SUMMONS [Xx] NO PROCESS* [] WARRANT
if Summons, complete following:

(_} Arraignment [_] Initial Appearance

Defendant Address:

 

Comments:

 

Name o! D'sinet Coun smornr lesen oct nies
NORTHERN DS7= 07 ALE Hii

 

 

 

iy, Py
PAL RR et a es ay, ff
ed Sis 0 ee i ag
(~ DEFENDANT -u.s Sh re
» MARCUS BELTON
DISTRIS~ SOLS 4 ueses
AS

wi lL

_CRI4 99624 %

C
ad
eC

 

IS NOTIN CUSTODY
Has not been arrested cans
1) (X] If not detained give dats a-, -

SUMMONS Was Served on abc,e 272-te: >

 

2) [_] Is a Fugitive

3) [-] Is on Bail or Release from (show District)

 

IS IN CUSTODY :
4) [] On this charge
{

5) [-] On another conviction

} C] Federal [] State

6) [[] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institutio-

If "Yes"
} give date

 

Has detainer [_] Yes

been filed? ‘a No filed
DATE OF > Month/Day/Year
ARREST

 

Or... if Areasting Agency & Warrant were not

 

ADDITIONAL INFORMATION OR COMMENTS

“Where defendant previously azc-ere-cer 27 oo
warrant ceeded, since Mag'strs’e “as stricuse

DATE TRANSFERRED
TO U.S, CUSTODY

Merth =

a

teed

C] This report amends AO 257 prevccs. 3

 

Baii Amount:

Date. Tire Bea
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 23 of 45

EXHIBIT B

“oT0e

‘g asnbnw °93edq *P7SGZ0 OSEE 0000 0890 8TOL
# qdtTecey TTeW peTyJtTyzep Aq peyerodzoouT
Case 4:14-cr-00030-JST Dodgument 314 Filed 08/09/19 Page 24 of 45

‘ . Case4:14-cr-00030-JST Document86 Filed11/20/14 Pagel of 7

AO 257 (Rev. &78)

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT |

 

ay: C] COMPLAINT [_] INFORMATION x] INDICTMENT

-——— Name of District Court, and/or Judge/Magistrate Location

 

 

 

 

 

 

 

Name of Complaintant Agency, or Person (& Title, if any)

Bureau of Alcohol, Tobacco, Firearms and Explosives

gO person is awaiting trial in another Federal or State Court,
give name of court

 

 

2019.

this person/proceading is transferred from another Gistrict
O per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
charges previously dismissed
CI which were dismissed on motion SHOW

eceipt #
Awaguist 6

J, .*
vVOCes

this prosecution relates to a
[_] pending case involving this same

AOA
UZIte

 

2BB50

ame and Office of Person
umishing Information on this form MELINDA HAAG

Qh

of: : , DOCKET NO. _
[J Us.ATTORNEY [7] DEFENSE 5) (J Awaiting trial on other charges

7 If answer to (6) is “Yes”, show name of institution
defendant MAGISTRATE been fled? No

CASE NO.
prior proceedings or appearancea{s)
[_] before U.S. Magistrate regarding this
defendant were recorded under

Enea noranes [x] SUPERSEDING NORTHERN DISTRICT OF CALIFORNIA
see attachment CQ eety OAKLAND DIVISION
LJ Minor C DEFENDANT - U.S
ee D
meanor & MARCUS BELTON
oeNALTY. ae DISTRICT COURT NUMBER 2014
*  seeartecimand CR 14-00030 JST CK LOW.
| r DEFENDANT ——
PROCEEDING IS NOTIN CUSTODY

Has not been arrested, pending outcome this proceeding.
1) 5X] If not detained give date any prior
summons was served on above charges >

 

2) [_] !s.a Fugitive

3) [_] !s on Bail or Release from (show District)

 

IS IN CUSTODY
4) [[] On this charge

5) [-] On another conviction
[] Federal [[] State

 

give date
filed
DATE OF Month/Day/Y ear
ARREST

| Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

Has detainer [_] Yes } Hes”

 

 

 

[x] U.S. Attormey ( Other U.S. Agency

2000

lame of Assistant U.S.
‘omey (if assigned) TAL MILDER, SAUSA

6

 

PROCESS:

[] SUMMONS NO PROCESS* {"} WARRANT
if Summons, complete following:
{_] Arraignment [_] Initial Appearance

Defendant Address:

Incorporated By Certified Mail R

7018

 

 

 

Comments:

ADDITIONAL INFORMATION OR COMMENTS

 

 

 

[_] This report amends AO 257 previously submitted

 

Bail Amount:

 

* Where defendant previously apprehended on complaint, 70 new summons or
warrant needed, since Magistrate has scheduled arraignment

Date/Time: Before Judge:

 

 
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 25 of 45

EXHIBIT C

“oT0c

‘9 asnbny *ered *¥SZ0 OSEE 0000 0890 8TOL
# qdtocey [TTeW PeTstT3aeD Aq pe y.erodzdout
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 26 of 45

 
 

Case: 4:14-cr-00030, Document: 202, Filed: 11-23-2075, Page 1 of 6

AQ 245B (Rev AO 09/1 1-CAN 7/14) Judgment in Criminal Case
Sheet |

UNITED STATES DISTRICT COURT
Northern District of California

UNITED STATES OF AMERICA
v.
Marcus Belton

JUDGMENT IN A CRIMINAL CASE

USDC Case Number: CR-14-00030-001 JST

BOP Case Number: DCAN414CR00030-001

USM Number: 98903-011

Defendant's Attorney: Peter Fitzpatrick (Appointed)

Ve Yer HS

THE DEFENDANT:
{~ pleaded guilty to count(s):

{~ pleaded nolo contendere to count(s):_ which was accepted by the court.

[¥ was found guilty on counts: One through Four of the Superseding Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 

 

 

 

 

 

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 922(g)(1) Felon in Possession of a Firearm October 14, 2013 One
21 U.S.C. § 860 Possession With Intent to Distribute Cocaine and Cocaine Base In October 14, 2013 Two
or Near School and
Three
18 U.S.C. § 924(c) Possession of Firearm In Furtherance of Drug Trafficking Crime October 14, 2013 Four

 

 

 

 

The defendant is sentenced as provided in pages 2 through _6_ of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

{— | The defendant has been found not guilty on count(s):
[  Count(s) dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/20/2015

Rate of Imposition of Jud zment,

  
   

 

 

United States District Judge
Name & Title of Judge

November 23, 2015
Date
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 27 of 45

EXHIBIT D

“6TO0d

‘9 asnbny *2e3ed *7SZ0 OSEE 0000 0890 8TOL
# 3dtTecey TTeW PeTITAAeD Aq peyzerodzoouy
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 28 of 45

Case 4:14-cr-00030-JST Document sarriled 06/29/15 Page 7 of 28 827

 

1 }|}employment.

2 The Government also agrees with your Honor's SRR TEERR
3 ||that language probably didn't need to be in the instruction in
4 ||the first instance.

5 THE COURT: Do you contend now that the evidence in

6 ||this case is sufficient to support a conviction that relies on

7 ||the jury finding that the defendant used a firearm within the

8

8 ||meaning of Section 924 (c) (1)?
9 MR. KUMAR: Your Honor, I havenit fully researched
10 |i the issue, but based on -- based on the initial research that

11 |} your Honor was kind enough to share with the parties, I would

0; 12 say that the evidence would not support that theory.
°
“ 13 THE COURT: Mr. Fitzpatrick?
14 MR. FITZPATRICK: Thank you, your Honor.
15 The Government elicited the testimony of, I believe it was

16 |}Officer Zhou.

17 | THE COURT: Yes.
18 MR. FITZPATRICK: Regarding Mr. Belton reaching for
19 |}his waist. That would be a use, in my interpretation of the

20 |}evidence, and that was the position the defense took with

21 |}regards to defending and arguing the case. M¢ (oy Isc VE Sy

22 THE COURT: And so you are, therefore, I gather,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0711. July 8,

23 |}requesting that the Court not withdraw that portion of the

24 || instruction?

 

 

25 MR. FITZPATRICK: I'm sorry? Did you say --

 

 

Debra L. Pas, CSR, CRR, RMR, RPR,
Official Reporter - U.S. District Court - San Francisco, California
(415) 431-1477

SERO01160
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 29 of 45

EXHIBIT E

“6T0?

‘g asnbny °e7ed *F7SGZ0 OSEE 0000 0890 8TOL
# QRdTec.=ey [TTeW peTJTAAeD Aq pezerodzoouT
“a “nay
pensar

samuel

se ha
sven sacl)

des

see severest peieneinssth
sw abieoryoneed ssiovnoineeed secomsand

3
ener]

peed tN
ieee

Incorporated By Certified Mail Receipt #
7018 0680 0000 3350 0711. July 8, 2019.

 

10

Ll

12

13

14

15

16

dh

18

19

20

21

22

23

24

25

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 30 of 45

Case 4:14-cr-00030-JST Documentasarndied 06/29/15 Page Sof 28 g25

 

 

 

other cases that have cited Bailey, it becomes very clear that
mere possession by itself is not enough to establish use.
Possession is not use. And I would cite United States versus
Perez, 129 F.3d 1340 at Page 1342, a Ninth Circuit case from
1997. Similarly, States versus French, 94 F.3d 653, Ninth
Circuit 1996. And all these cases rely on Bailey.

The French Court said:

"A defendant does not use a firearm by placing it
near drugs to provide a sense of security or to ~
embolden. Mere possession for protection does not
constitute use."

Later on the same Court said:

"The Government misinterprets the holding of
Bailey. The Supreme Court explained that if the gun
is not disclosed or mentioned by the offender, if 2s
not actively employed and it is not used." ,

So anyway, I -- I'll hear from the parties, but my own
tentative view is that it was -- it was an error for the Court
even to give the optional paragraph of instruction 8.71 with
regard to use because it's not even the government's theory in
the Bee The soveenneners theory in the case is that the
defendant carried a firearm in connection with a crime.

And so I had a little more research to do, but I didn't
want to keep the parties waiting. That's as far as I've

gotten.

 

Debra L. Pas, CSR, CRR, RMR, ROR.
Official Reporter - U.S. District Court - San Francisco, California
(415) 431-1477

SER01158

 
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 31 of 45

EXHIBIT F

“6T0¢

‘9g asnbny *e3ed *7GZ0 OSEE 0000 0890 8TOL
# ydteosey [TeW peTystTqyaeD Ag paeqesrodzooulL
10
Li
LZ
13
14
15
16
We
18
19
20
21
22
23
24

25

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 32 of 45

Case 4:14-cr-00030-JST Document dg, \iiled 06/29/15 Page 9 of 28 g99

 

 

 

(Defendant speaking in the background. )

THE COURT: So I will instruct the jury that the

Government has to prove either "used or carried;" that these
are alternative -- I don't like the word "theory." Give me a
second.

That these are alternative bases under the indictment;
that the use of the word "and" in Line 13 is ineluded in the
model instruction, but it's clearly a typo. And that the law
does not define -- and this is true actually. There are only a
series of examples, but there's no further definition of the
term "active employment."

Mr. Fitzpatrick.

MR. FITZPATRICK: Thank you. As to that issue, your
Honor.

Well, first, as to replacing the language of the
instructions mid-deliberation, I would object that the cake, as
they say, is baked as it were, and sent in to Mr. Belton's
jury, as did -- Mr. Belton found himself in that very position
with regard to all the decisions and everything he made when
counsel stepped in for him.

THE COURT: Yes.

MR. FITZPATRICK: I think that changing things
mid-stream is not fair.

THE COURT: Have you completed making your record

whth regard to the»prejyudice to Mr. Belton?

 

Debra L. Pas, CSR, CRR, RMR, RPR,
Official Reporter - ‘U.S. District Court - San Francisco, California
(415) 431-1477

 
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 33 of 45

EXHIBIT G

“6T02

‘g ysnbny ‘ered °7GZ0 OSEE 0000 0890 8TOL
# qdtecey TTeW peTyJtazeD Aq paezerzodzooulr
2019.

“Incorporated By Certified Mail Receipt #

e oe -——— o
4

7018 0680 0000 3350 0254. Date. August 6,

&

i

10

11

12

13

14

15

16

17

18

19

20

21.

22

23

24

29

Case 4:14-cr-00030-JST, Document 314 Filed 08/09/19 Page 34 of 45

ce 11

 

 

 

STANDING BY THEIR OATH TO THE COURT WHEN THE EVIDENCE CLEARLY
SHOWS CAUSE FOR MRS. SCHWARTZ SHOULD HAVE FILED A BILL OF
PARTICULARS ADDING THE BLOCKBURGER TEST TO MAKE SURE THAT THE
SECOND INDICTMENT IS DIFFERENT FROM THE FIRST, AND THE FRANKS
MOTION TO CHALLENGE THE AFFIDAVIT OF VINTON JOHNSON.

A LETTER FROM MRS. SCHWARTZ DATED MAY 7, 2014,
STATING WHY SHE REFUSED TO FILE THE TWO MOTIONS. MR. VAUGHNS ON
JULY 9, 2014, STATING ON THE RECORD HE COULD NOT FILE A BILL OF
PARTICULARS ADDING BLOCKBURGER TEST TO THE MAKE SURE THE SECOND
INDICTMENT WAS DIFFERENT FROM THE FIRST. AND A DISMISSAL FOR
THE GRAND JURY IMPROPERLY CHARGING DEFENDANT AS A FELON UNDER 18
U.S.C. 921 (G) AND 18 U.S.C. 922 (D) INVALID UNDER SECTION
921A20 BARS FEDERAL PROSECUTION.

THE COURT: MR. BELTON, STOP. STOP.

THE DEFENDANT: NOW YOU'RE VIOLATING --

THE COURT: NO.

THE DEFENDANT: I'M ASKING FOR A DISMISSAL. YOU'RE
VIOLATING MY CONSTITUTIONAL RIGHTS.

THE COURT: MR. BELTON. MR. BELTON... YOU HAVE
COUNSEL. YOU'VE TOLD ME YOU DON'T WANT TO REPRESENT YOURSELF.
YOU HAVE COUNSEL. I'LL LISTEN TO YOUR LAWYER. I'M NOT GOING TO
LISTEN TO YOU READ THAT INTO THE RECORD.

THE DEFENDANT: I WILL FINISH READING THAT.

THE COURT: NO. NO. I'M NOT GOING TO.

THE DEFENDANT: I'M ASKING FOR A DISMISSAL ON THE

 

SER00072

 
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 35 of 45

EXHIBIT H

“6T0¢

‘9g asnBny *e2ed *7SGZ0 OSEE 0000 0890 8TOL
# qydtoosey [Tew peTytyzeD Ad peyerodirosul
2019.

Date. August 6,

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 36 of 45

Case 4:14-cr-00030-JST Document 207-2 Filed 01/12/16 Page 3 of 10

te ® e

"AO 245B (Rev. 9/00) Sheet 3 - Supervised Release

DEFENDANT: MARCUS BELTON Judgment - Page 3 of 10
CASE NUMBER: — CR-98-40082-11-DLJ

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of_1_year .

While on Supervised Release you shall not commit another federal, state or local crime and shall not illegally
possess a controlled substance. Revocation of supervised release is mandatory for possession of a controlled
substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter.

[] The above drug testing condition is suspended based on the court's determination that the defendant
poses a low risk of future substance abuse. (Check if applicable.)

[x] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

Revocation of supervised release in mandatory for refusal to comply with drug testing imposed as a condition of
supervision. 18 U.S.C. Sections 3565(b)(3) and 3583 (g)(3)

You shall pay the assessment imposed in accordance with 18 U.S.C. Section 3013, and shall
immediately notify the probation officer of any change in your economic circumstances that might affect your
ability to pay a special assessment, fine, restitution, or co-payments ordered by the Court.

If the judgment imposed a fine or a restitution obligation, it shall be a condition of supervision that you
pay any such fine or restitution that remains unpaid at the commencement of the term of supervision in
accordance with any Schedule of Payments set forth in the Criminal Monetary Penalties sheet of the judgment.
In any case, the defendant shall cooperate with the probation officer in meeting any financial obligations

 

rea ernment reym pe Neen IEE AN ee ink EWR EE AEE
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 37 of 45

EXHIBIT I

“6T02

‘g ysnBny *eted *7SZ0 OSEE 0000 0890 8TOL
# ydtecey Ttew petyt3zep Aq pezerodzo0d9ut
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 38 of 45
3/14

ALaMEDA COUNTY
PROBATION DEPARTMENT

 

Chief Probation Officer , (\\ \

May 16, 2013
TERMINATION FROM ALAMEDA COUNTY:-PROBATION
POST RELEASE COMMUNITY SUPERVISION

This letter is verification that, DOB: 9-12-71, F81912 has completed.and met the conditions imposed upon
him/her and is therefore terminated from Alameda County Probation Department Post Release Community
Supervision (PRCS).

Marcus Belton began his/her PRCS in Alameda County on.03/27/2012.

 

‘g lasnbny °e.ed

As of May 16, 2013, he/she is no longer on active PRCS with the Alameda County Probation Department.
Respective to this specific case (F81912), his/her rights regarding search and seizure have been reinstated.

If further assistance is needed, I can be contacted at (510) 268-2629.

R thal.

R. Hadley #310”

Deputy Probation Officer ~

Mail Reply to Address Indicated:

X Probation Center [] Community Probation North [1] 24085 Amador Street, 4" Floor _
400 Broadway, P.O. Box 2059 7200 Bancroft Avenue, Suite 270 Hayward, CA. 94544-1201
Oakland, CA 94604-2059 Oakland, CA. 94605-2410

(1 Family Preservation Unit - LT Community Probation South [] 24085 Amador Street, Suite 310
2300 Fairmont Drive, LV2 24085 Amador Street, 3 Floor. Hayward, CA 94544-1201
San Leandro, CA. 94578-1090 Hayward, CA, 94544-1201

{1 Camp Wilmont Sweeney [] Juvenile Justice Center [] 5672 Stoneridge Drive

2600 Fairmont Drive . 2500 Fairmont Drive, Room C1055 Pleasanton, CA. 94588-8559

°7SG7Z0 OSEE 0000 0890 8TOL

# |adtTecsey [Tew petyt3z47eD.Aq peqzerzodzoout

*610Z
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 39 of 45

 

2019.

Incorporated By Certified Mail Recelpt #...
7018 0680 0000 3350 0254. Date. August 6,

10
Ld
Ee
13
14
AS
16
ay
18

19

2d
22
zo

24

25.

26.

28

 

re espe Ra ae saw
of the complaint?
MR. SAWYER: Yes.
He COURT: Thank you.
All right. Then, Mr. Belton, you are accused in

Count 2 of a felony, possession for gale of a controlled

substance, cocaine base, alleged to have occurred on
September 18, 2004 in this county in violation of 11351 of
the Health and Safety Code.

To that charge, what is your plea?

MR, SAWYER: Your Honor, actually, it's simply
cocaine, not cocaine base.

THE COURT: All right. 1 misspoke. It does say
cocaine. Youlre correct. Possession of cocaine -- 11351,
possession for sale of cocaine.

And your plea to that charge?

THE DEFENDANT: No contest.

THE COURT: It's further alleged that on or about
December 21, 2001 you were convicted in the Federal Court of
a felony, 21 U.S.C. 843(6), use of a telephone to further
felonious drug activity.

Do you admit or deny that?

THE DEFENDANT: It was an attempt.

THE COURT: I beg your pardon, sir.

THE DEFENDANT: Attempt. It was an attempt.

THE COURT: Well, it's not alleged as that. It's

alleged as 21 U.S.C. 843(b). Do you want to just say no

contest?

 

 

 

 

 

 

 

 
2019.

Date. August 6,..

Incorporated By Certified Mail Receipt #

7018 0680 0000 3350 0254.

Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 40 of 45

Certificate of Service —

6 a marcus Belton hereby certify that I. have served a t |
sorrect ‘copy of the following by placement in the inmate nail: Fue and
A Supplemental Brief, on the New Substantive Ruling that came down
from the Supreme Court on June 21, 2019; dealing with 922(g)(1),
°924(c) being un-consistitutionally vague, this motion is also
dealing with a Fundamental defect in the indictment, that can:
-be raised at any time citing United States v. Pheaster, 544 F.2d
353,361(9th Cir.1976). & Rule 45 (B) Clerks Duties: Defendant moves
to make a formal lodging to the U.S. District Court, By & through

collateral order doctrine.

' Service i |
ce of process is deemed complete at the time of delivery to the United States —

tte eee forwarding to the Court. Houston v. Lack 101 L.Ed.2d 245 (1988)
OE da ae y sue pervice upon the parties to litigation and or his/her attorne
‘cord, by placemen a a.sealed, postage prepaid envelope addressed to: 7

U.S. District court, GiaeE . "U.S. Attorney, Katie B: Medearis
Susan Y. Soong. At, 1301 Clay ST. at 1301 Clay St.
Oakland, CA. 94612. : Gukland; Ch. 946124.

under Rule 45(b)
ec. |

and deposited in the United State
Lompoc;. Lompoc, California, all requ i
- fing Tete oun Coe iad ic. quirements of serving of process required by

L@th ____ ee 2019.

United States Penitentiary : oad
- 3901 Klein Boulevard * ; (Name) Marcus Belton: Bees

Lompoc, CA 93436-2706

 

 

98903-011.
Bureau of Prisons Register
Number

 
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 41 of 45

 

 

 

 

   
   

 

 

 

 

 

 

 

 
 
     
 

 

 

 

 

oe a
oe
EOIN mM fu
————E
Een 1) |) Certified Mail Fee .
wn ym fp 32 D0 F-unit
Bn err
ann TET [Extra Services & Fees (check box, add fee as appropriate)
a_i (Return Receipt thardeapy) $
—oe COCs) CJ) Return Receipt (electronic) $ Postmark
Tmomneccece:  C! CJ) | [certified Mail Resticted Delivery  § _ Here x“
ecmtammnmceeess , CC) | seadut signature Required $2.80 a)
ee oo (JAdult Signature Restricted Delivery $ O N
ne el oo og [Postage oa. ‘oO
ne ee Seed
—————_ «=— TLD] [Total Postage and Fees Lan < ¥
nomEnaeenes «=| CT} J és 8 . 50 QO Y x QO s
—eememeersatinerminaai c @ ooh
mone Cf} cf} )Sent To ‘ 3062
tt—7 rq ji¢lerk,Susan Y.Soong.U.S.Dist,Cour G3sd 72
a OC] CC) Stregt adapt Ng! or PO Box No. TO gy BO
Rm ttt thay st , Sof5%8
* BIT PR reer een ween e nena nee none enn nena eee ee
Cily, State, ZIP¥4 mMm2aA-OD
©
. 0
8 m
. 8
- &§
“a 60
oO 7 .
I
OO
OQ
nA Oo
oO vd
n pb
g
te =O
ry
Dd '
o \o
me d+ m
uO ft
. > m4
q¢ nda
O g pa
am) e
ao 6@ 4
O Pon OD
mW YW
ed ™
yn CO NM O
3 .°4O« O°
oO Poa
Hou O §
6 fF nN O
Ss pm 4

‘g ysnbny °e7ed °7SGZ0 OSEE 0000 0890 8TOZL
# 3dTecey [Tew petTItTzzeD Ag peqzerzodizo0oulL

“6T0Z2
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 42 of 45

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
Oakland DIVISION

United States Of America,
plaintiff

) No. 14-CR-00030-JST
) No.18CV-03595-JST
) SUPPLEMENTAL BRIEF, NEW SUBSTANTIVE
) RULING THAT CAME DOWN FROM THE
) SUPREME COURT, DEALING WITH STATUTES
) 922(g) (1), AND 924(c) BEING "UN-
Vs ) CONSISTITUTIONALLY VAGUE", DEALING
) WITH A FUNDAMENTAL DEFECT CAN BE RAISED
) ANY TIME, CITING UNITED STATES V.
) Pheaster,544 F.2d 353, 361 (9th Cir.
) 1976). Fed. R. Crim. P. 12(b) (2) (A)
) MOTION THAT THE COURT LACKS
) JURISDICTION MAY BE MADE AT ANY TIME
) WHILE THE CASE IS PENDING.").Rule 45 (b)

Marcus Belton
Defendant

 

Clerk's Duites:

Now comes, Defendant/Movant pro se litigant, Marcus Belton, now

moves to make a formal lodging to the U.S. District Court, by and
through collateral order doctrine, that his sentence dealing with
elements ans statute 922(g)(1), and 924(c) be vacated under stare

decisis doctrine, following cited cases, Rehaif v. United States,

 

(No.17-9560) S. Ct. June 21, 2019. Gonzalez v. Thaler, 565 U.S.

 

134 (2012). United States v. Pheaster, 544 F. 2d 353 (9th Cir.1976).

 

Henderson v. United States, 568 U.S. 266 (2013). Peretz v. United

 

States, 501 U.S. 923 (1991). James, 980 F.2d at 1316). Medina, 305
F.3d at 847). Ruelas, 106 F. 3d at 1419). The Government's cases No.
14-CR-00030-JST, case No. 18-CV-03595-JST. Is in violation of the
above statutes, The U.S. District Court is now "Duty Bound" under
it's Oath, 28 U.S.C. § 453 and Artical VI, Clause 2, under the United
States Constitution of the United States Of aAmercia to "Immediately

Vacate" sentence and release Defendant/Movant Marcus Belton.
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 43 of 45

 

1 Jdjacay wunjey onseuiog

AUPaAEg Paoujsey
UOREWUUUOD eunjeuBblg (7

! SSIPUBYOIyy
JO} Jdassy WNsyY Fy

: faseayeaq
| PaPOLsay [ep] povsysibey []
i wile passysi6ay [
@ssaudxq [I AO

(00S$ 40A0)

£S06-000-20-08S/ NSd SLOZ Ainr ‘| [gE WwO4 Sq |

Aanyeq parser fey paansuy vSCO OSEE 0000 0890 STOL:

“EW paansuy 5)
, WUOREUUYUOD ainjeubig CG Ueayacl payouysay Asayeq] uo joaio9
i AMsnyeq uo yajoo G

(ege) aolues Woy sejsues) Jequiny amy Zo

Ki 3: 3) HILLS: :
onred Perse! FEW pauniso LL S9SP 90€9 OzZSz ZOrE OBS6

Aenog payousey einyeubis ynpy
aunjeubls ynpy Ie
adhl soIies "Ee Z9hk

 

ITNT

 

on C1 :Mo[sq sseippe AlaAlep 4ajU9 ‘SaA 4

i SAAC] él wey Woy queleyip sseuppe Auenlap 8] “q

Eh WO ‘pueTyeo-°LS ACTO LOST
“48Td°s*n 03 Bbutbpot Tewxzo0z

*3anoD sueadns ayy Wold
PUTT NY SATAUBISQNS MON‘ Jatzg

“S*n°*buoos*x uesng4 YAeToO
10} pessauppy sjony "E |

 

 

“ Aueayeq Jo eeq “9

(eweN peu) Aq panissay -g

“sued aoeds ji ]UOJ SUL,U0 JO :
‘eoeldjeus oy} Jo YOR ey} O} Pleo SID YORNY mw

 

' eesseippy Cy
: juaby C]

i

 

eunyeuB

"6Toz ‘9 4snbny *e qed
# qdtecssy TTew petyt3azeD Aq peyerzodzocouylr

x

 

OA 0} pieo ay} WNje UBD SM yeyLOS
@S1BA81 SY] UO SSAIPPe pur eLueU INCA WU wy |

"§ pue ‘Z ‘, susp oyod0g py

 

 

 

 

Tequswetddns ‘janoz: 3STC .

"7Sc0 OSEE 0000 0890 8TOL

Mi

Ht
Case 4:14-cr-00030-JST Document 314

 

 

Ronee at: wn

      

FOREVER / USA

FOREVER / tiny-
|, sae

 

    

FOREVER / USA. FOREVER / USA

   

FOREVER / U

SA FOREVER / Usa FOREVER / USA

#©98903-011
U S$ Court District Clerk
Suite 400 South.
1301 CLAY ST
Oakland, CA 94612
United States

\ Lec] Mail’
Case 4:14-cr-00030-JST Document 314 Filed 08/09/19 Page 45 of 45 =

o

  

OLev

 

 

 

 

 

 

 

i

199 SAdO0TSANA JLIHM

TWAS 8 SSAUd «Zt X 16 GWA

 

 

aa
|

L

 

COMPLETE THIS SECTION ON DELIVERY

 
 

_ SENDER: COMPLETE THIS SECTION

     

 

 

 

 

@ Complete items 1, 2, and 3. A. Signature
@ Print your name and address on the reverse x C1 Agent
so that we can return the card to you. CZ Addressee
B Attach this card to the back of the mailpiece, B. Received by (Printed Name) C. Date of Delivery
or on the front if space permits.
1. Article Addressed to: D. Is delivery address different from item 1? CT Yes
Clerk,Susan Y. Soong.U.S. If YES, enter delivery address below: [] No

Dist.Court, Supplemental
Brief,New Substantive Rulind
From the Supreme Court.
formal lodging to U.S.Dist.
1301 Clay ST. Oakland, CA4wa

 

 

 

 

 

 

 

946/213. Service Type C1 Priority Mail Express®
| | fil ll ll Jal Adult Signature O Registered Mail™
O Adult Signature Restricted Delivery oO aes Mail Restricted
Certified Mail® elivery
9590 9402 2520 6306 4565 11 Pi Gertted Mail Restricted Delivery C1 Return Receipt for
O Collect on Delivery ; ; H iebeteing firmation™
2. Article Number (Transfer from service label) = ee lai Restricted Delivery A Signature Sen
7018 0680 000 0 3350 0254 oO i ial Restricted Delivery Restricted Delivery
over
, PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt ;
i t
FCC LOMPOC
3600 GUARD ROAD

| Lag IA. 93436
j \
_ al

The followin Ictter was prodessed throuch spe
Procedures for forwarding to you. The

Ste:
Opened or insp

WYILCT PaISes a Gz

 
   
  
   
   
  

 

    
 

or problem over

 

 

Which this faci!ty has jurisdictica, yout 4 to return the
material for ferthor information or cleri f the writer

1A.

enclosed correspondence for forwarding t< cress, please

return the enclosed to the above 2c!
